 Case 2:98-cr-00142-BRM              Document 87    Filed 11/10/10      Page 1 of 2 PageID: 99




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                         UNITED STA TES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

 1JNITED STATES OF AMERICA,                                    Hon. William H. Walls

                        Plaintiff,                             Criminal Action No. 98-142

         v.                                                       ORDER TO SHOW CAUSE

 Michael Rice,

                        Defendant.



       This matter having been opened to the Court by Paul J. Fishman, United States Attorney

for the District of New Jersey (Leah A. Bynon) Assistant U.S. Attorney, appearing), attorney for

plaintiff United States, for an Order directing the defendant, Michael Rice, to show cause why

defendant should not be adjudged guilty of contempt of the Court for failure to obey its lawful

Order of August 24, 2010, directing defendant to produce financial information and appear for

discovery in the office of the United States Attorney, Financial Litigation Unit, on September 30,

2010, and the defendant having failed so to do, and for good and sufficient cause shown;
Case 2:98-cr-00142-BRM           Document 87     Filed 11/10/10       Page 2 of 2 PageID: 100




        ITlSonthis/ day of,        /           z,2010,

        ORDED that defendant appear before this Court at/f               New Jersey, on

         J4 ‘at        a.m. and show cause why defendant should not be held in contempt and

punished therefore: and it is further

       ORDERED. that the United States Marshal is directed to make personal service of this

Order upon the defendant.                                   /
                                                          / /


                                        HLIAMALLS JUDGE           ,


                                        UNITED STATES DISTRICT COURT
